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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                                     DOCKET NO.: 17-cr-10281-PBS


                                             )
UNITED STATES OF AMERICA,                    )
                                             )
v.                                           )
                                             )
MINERVA RUIZ,                                )
Defendant.                                   )
                                             )

     DEFENDANT’S OBJECTION TO GOVERNMENT’S MOTION FOR A HEARING
       CONCERNING DISQUALIFICATION OF ATTORNEY SCOTT GLEASON


       NOW COMES the defendant and hereby opposes the Government’s Motion For A

Hearing Concerning Disqualification of Attorney Scott Gleason, and, in support of the within

opposition, states as follows:

       1.      The defendant was charged with conspiracy with intent to distribute heroin, and

               distribution of heroin, in violation of 21 USC §846 and 21 USC §841 (a)(1).

       2.       Counsel entered his appearance on the defendant’s behalf on March 6, 2018.

       3.      On November 26, 2018, the government disclosed to the defense, for the first

               time, the identity of a cooperating witness. Trial was scheduled to occur on

               December 3, 2018.

       4.      On November 29, 2018, counsel notified the government that he currently

               represents the cooperating witness. Specifically, counsel revealed that he

               represents the cooperating witness in an effort to vacate a prior, unrelated drug

               conviction in the Haverhill District Court.




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5.   The defendant has a Sixth Amendment constitutional right to the legal

     representation of her choice. Wheat v. United States, 486 U.S. 153 (1988). In

     litigating this matter, and preparing for trial, the defendant has expended

     considerable time, effort and resources on her current legal counsel, is satisfied

     with his representation and wants to proceed to trial with him.

6.   The government has failed to explain why it neglected to alert the defense to this

     potential conflict issue until days prior to trial. Given the timing of the disclosure,

     its importance and the circumstances, the trial court would be within its discretion

     to prohibit the government from calling the cooperating witness at trial.

7.   Further, if the cooperating witness were to testify at trial, it is not clear, at this

     stage of the proceeding, whether an insurmountable conflict of interest exists.

     A.     The matter counsel represents the cooperating witness on is minor in

            nature. The fact of his criminal conviction, which counsel would have

            learned in this proceeding anyway, is essentially all that has been

            disclosed to counsel during the representation and which would assist the

            defense in this trial. Therefore, this is not a situation where counsel is

            restricted in his representation due to his responsibilities to another client,

            in this case the cooperating witness. See Mass. R. Prof’l Conduct,

            1.7(a)(2).

     B.     The matter involving the cooperating witness is scheduled for hearing

            soon. It is likely that counsel’s representation of the cooperating witness

            will conclude on that day. By the time trial is re-scheduled in this matter, it

            is likely that the cooperating witness will not be a current client, but a



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                       former client. Counsel’s duty to a former client is governed by Mass. R.

                       Prof’l Conduct, 1.9. Counsel does not believe that he will be using any

                       confidential information to the advantage of the defendant or to the

                       disadvantage of the cooperating witness. Counsel does not believe that he

                       will be in the position of having to reveal any confidential information

                       relating to the cooperating witness. Mass. R. Prof’l Conduct, 1.9 (c).

       8.      Counsel requests that the Court schedule a hearing on this matter.

       WHEREFORE, defendant requests that this Honorable Court allow the within Motion, or
schedule hearing for said motion and for such other and further relief as this Court deems
appropriate.


Dated: December 7, 2018                               RESPECTFULLY SUBMITTED
                                                      FOR THE DEFENDANT
                                                      BY HER ATTORNEY

                                                      /s/ Scott F. Gleason
                                                      Scott F. Gleason, Esquire
                                                      GLEASON LAW OFFICES, P.C.
                                                      163 Merrimack Street
                                                      Haverhill, MA 01830
                                                      (978) 521-4044
                                                      B.B.O. Reg. No. 195000

                                  CERTIFICATE OF SERVICE

       I, Scott F. Gleason, Esquire, do hereby certify that I have this date filed a copy of the
within Motion to all interested parties by way of electronic filing.

Dated: December 7, 2018                               /s/Scott F. Gleason
                                                      Scott F. Gleason, Esquire




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